Case 2:23-cv-01165-KM-LDW Document 7-1 Filed 05/01/23 Page 1 of 4 PageID: 143




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

TREY GREENE, individually and on           Case No. 2:23-cv-01165-KM-LDW
behalf of all others similarly situated,
                                           [PROPOSED] ORDER
                           Plaintiff,      APPOINTING LEAD PLAINTIFF
                                           AND APPROVING LEAD
     v.                                    PLAINTIFF’S SELECTION OF
                                           LEAD COUNSEL
ZAC PRINCE, FLORI MARQUEZ,
TONY LAURA, JENNIFER HILL
and GEMINI TRADING, LLC,

                           Defendants.


      WHEREAS, the Court has considered the competing motions for

Appointment as Lead Plaintiff and Approval of Lead Plaintiff’s Selection of Lead

Counsel,

      IT IS HEREBY ORDERED THAT:

      1.     Having reviewed all pending Motions and accompanying Memoranda

of Law, the Court hereby appoints Cameron Wyatt (“Wyatt”) as Lead Plaintiff in

the above-captioned action (the “Action”). Wyatt satisfies the requirements for

Lead Plaintiff pursuant to Sections 27(a)(3)(B)(iii) and 21D(a)(3)(B)(iii) of the

Private Securities Litigation Reform Act of 1995 (“PSLRA”).
Case 2:23-cv-01165-KM-LDW Document 7-1 Filed 05/01/23 Page 2 of 4 PageID: 144




      2.     Lead    Plaintiff,   pursuant    to   Sections     27(a)(3)(B)(v)    and

21D(a)(3)(B)(v) of the PSLRA, has selected and retained Pomerantz LLP as Lead

Counsel for the Class.

      3.     Lead Counsel shall have the following responsibilities and duties, to

be carried out either personally or through counsel whom Lead Counsel shall

designate:

             (a)    to coordinate the briefing and argument of motions;

             (b)    to coordinate the conduct of discovery proceedings;

             (c)    to coordinate the examination of witnesses in depositions;

             (d)    to coordinate the selection of counsel to act as a spokesperson
                    at pretrial conferences;

             (e)    to call meetings of the plaintiffs’ counsel as they deem
                    necessary and appropriate from time to time;

             (f)    to coordinate all settlement negotiations with counsel for
                    defendants;

             (g)    to coordinate and direct the pretrial discovery proceedings and
                    the preparation for trial and the trial of this matter and to
                    delegate work responsibilities to selected counsel as may be
                    required; and

             (h)    to supervise any other matters concerning the prosecution,
                    resolution or settlement of the Action.

      4.     No motion, request for discovery, or other pretrial proceedings shall

be initiated or filed by any plaintiffs without the approval of Lead Counsel, so as to

prevent duplicative pleadings or discovery by plaintiffs.             No settlement

negotiations shall be conducted without the approval of Lead Counsel.
                                          2
Case 2:23-cv-01165-KM-LDW Document 7-1 Filed 05/01/23 Page 3 of 4 PageID: 145




       5.     Every pleading in this Action, and any related action that is

consolidated with this Action, shall hereafter bear the following caption:

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

IN RE BLOCKFI, INC. SECURITIES                   Case No. 2:23-cv-01165-KM-LDW
LITIGATION
                                                 CLASS ACTION
THIS DOCUMENT RELATES TO:
                                                 [TITLE OF DOCUMENT]



       6.     When the document being filed pertains to all actions, the phrase “All

Actions” shall appear immediately after the phrase “This Document Relates To:”.

When the document applies to some, but not all, of the actions, the document shall

list, immediately after the phrase “This Document Relates To:”, the docket number

for each individual action to which the document applies, along with the name of

the first-listed plaintiff in said action.

       7.     Counsel in any related action that is consolidated with this Action

shall be bound by this organization of plaintiffs’ counsel.

       8.     Lead Counsel shall be the contact between plaintiffs’ counsel, and

shall direct and coordinate the activities of plaintiffs’ counsel.

       9.     Defendants shall effect service of papers on plaintiffs by serving a

copy of same on Lead Counsel by overnight mail service, electronic or hand

delivery. Plaintiffs shall effect service of papers on defendants by serving a copy
                                             3
Case 2:23-cv-01165-KM-LDW Document 7-1 Filed 05/01/23 Page 4 of 4 PageID: 146




of same on defendants’ counsel by overnight mail service, electronic or hand

delivery.

      10.    During the pendency of this litigation, or until further order of this

Court, the parties shall take reasonable steps to preserve all documents within their

possession, custody, or control, including computer-generated and stored

information, and materials such as computerized data and electronic mail,

containing information which is relevant or which may lead to the discovery of

information relevant to the subject matter of the pending litigation.




SO ORDERED.

Dated: ___________________


                                              HONORABLE KEVIN MCNULTY
                                              UNITED STATES DISTRICT JUDGE
                                              DISTRICT OF NEW JERSEY




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